Case 2:18-cv-03720-FMO-SHK Document 70 Filed 09/25/20 Page 1 of 2 Page ID #:316




  1
  2
  3
  4
  5
  6
  7
  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10
 11
 12    RICHARD TETSUO OSAKI,                          Case No. 2:18-cv-03720-FMO (SHK)

 13                                     Plaintiff,
                                                      ORDER ACCEPTING FINDINGS
 14                         v.                        AND RECOMMENDATION OF
                                                      UNITED STATES MAGISTRATE
 15    THE CITY OF SAN BERNARDINO,                    JUDGE
       et al.,
 16
                                      Defendants.
 17
 18         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Second Amended
 19   Complaint (“SAC”), the Second Motion to Dismiss (“Second MTD”), the
 20   relevant records on file, and the Report and Recommendation of the United States
 21   Magistrate Judge. No objections have been filed.
 22         The Court accepts the findings and recommendation of the Magistrate
 23   Judge. IT IS THEREFORE ORDERED that the Second MTD be DENIED.
 24   Specifically: (1) Defendants’ request that the City of San Bernardino be dismissed
 25   as a Defendant is DENIED as MOOT, and (2) Defendants’ request to dismiss
 26   Plaintiff’s claims of supervisorial liability, excessive force, and failure to intervene
 27   against City Defendants is DENIED.
 28   ///
Case 2:18-cv-03720-FMO-SHK Document 70 Filed 09/25/20 Page 2 of 2 Page ID #:317




  1         The remaining Defendants are now ordered to respond to the SAC, as
  2   required, under the Federal Rules of Civil Procedure.
  3
  4   Dated: September 25, 2020
  5                                                     /s/
                                            HONORABLE FERNANDO M. OLGUIN
  6                                         United States District Judge
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28                                           2
